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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION


Ciara Vesey,                                )
                                            )
              Plaintiff,                    )
                                            )
                                            )
        v.                                  )     No. 1:18-cv-1084
                                            )
Envoy Air, Inc.                             )
                                            )
              Defendant.                    )
                                            )


                                       Order

        Defendant’s motion to transfer this case to the Central

District of Illinois is granted. It is apparent from the face of

the     complaint—which          alleges     workplace      discrimination         in

violation of Title VII and related state claims—that the action

has     no    meaningful    connection      to    the    Northern     District     of

Illinois. Plaintiff does not live here, did not work here, and

has     not    identified       any   potential     witnesses       located     here.

Although all agree that venue is proper in the Northern District

based    on    defendant’s       presence    in    the   forum,     defendant     has

established that the convenience of the parties and witnesses

and   the     interests    of    justice    militate     strongly    in   favor    of

transfer under 28U.S.C. § 1404(a).
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       Plaintiff alleges that she worked for defendant at Quad

Cities    International         Airport         in       Moline,      Illinois,        which     is

located    in    Rock    Island      County         in    the     Central      District.        Her

complaint        attributes          claim-related                conduct        to        various

individuals,      all    but    one    of       whom,         defendant       asserts      without

contradiction, live and work in the Central District, and the

remaining individual lives in Texas. Plaintiff herself lives in

the Southern District of Iowa, roughly seven miles from the Rock

Island courthouse in the Central District, but over 150 miles

away   from     the     Chicago      courthouse           in    the     Northern       District.

Plaintiff concedes that the Central District is the “situs of

material    events,”      and     there     is       no       indication      that     materials

likely    to    be    produced       in     discovery           are    maintained          in   the

Northern District. In short, there is no discernable reason to

litigate this case here.

       Plaintiff does not dispute that every party and witness

likely     to    participate         in     a       trial       would     have        to    travel

significantly further—more than ten times further in plaintiff’s

case—to attend proceedings in Chicago as opposed to in Rock

Island.    Her    insistence         that       it       is    nevertheless       “easier        to

travel” to her chosen forum because defendant is an airline and

because    Chicago       is    one    of    the      country’s          “most    popular        and

commutable regions” defies common sense. And her unsubstantiated

guess that her claims “may revolve around the corporate policy

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and procedures that Defendant had in place” fails to anchor her

claim   to   this     district    in   any    meaningful       way.   Finally,

plaintiff’s suggestion that the judges and juries of the Central

District are less able to ken the relevant law or to resolve her

claims in an unbiased manner is not well taken and does not

warrant further comment.



                                           ENTER ORDER:




                                           Elaine E. Bucklo
                                           United States District Judge
Dated: June 25, 2018




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